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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 14-6366

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, ifany) Jonathan Meer
was received by me on (idate) 11/25/2014

© I personaily served the summons on the individual at (place)

on (date) ; OF

C1 I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

oni (date) ; or

C1 I returned the summons unexecuted because ,or

uf Other (specify): | served Summons and Complaint on Jonathan Meer d/b/a Rider University, 2083
’ Lawrenceville Rd., Lawrenceville, NJ 08648 via U.S. certified mail (RR#
70100290000229607442) 11/20/2014. A copy is attached hereto.

My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

Date: Hl] 26] 4 Wear pee OO

Server's signature VV

Matthew B. Weisberg, Esq.

Printed name and title

Weisberg Law
7 §. Morton Ave.
Morton, PA 19070

Server's address

Additional information regarding attempted service, etc:
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, Mf Complete items 1, 2, and 3. Also complete

item 4 if Restricted Delivery is desired.

@ Print your name and address on the reverse
so that we can retum the card to you,

@ Attach this card to the back of the mailpiece,
or on the front if space permits.

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a of ff fi HE F

D. Is delivery address differan{frott item 17 C1 Yes
If YES, enter delivery address below: CJ No

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Tonathan Mee

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| 2083 Lawtnceville KA. ==
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i tnsured Mal «=. G.0..D..

4. Restricted Delivery? (Extra Fee) CO Yes

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, PS Form 3811, February 2004 Domestic Retum Receipt 102595-02-M-1540 »

